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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 25-21088-CIV-ALTONAGA/Reid

  GAMIL KHARFAN,

         Plaintiff,
  vs.

  EQUIFAX INFORMATION
  SERVICES, LLC; et al.,

        Defendants.
  ___________________________/

                                               ORDER

         THIS CAUSE came before the Court sua sponte. On April 17, 2025, the Court entered

  an Order Setting Trial and Pre-Trial Schedule [ECF No. 25], requiring the parties to select a

  mediator; schedule a time, date, and place for mediation pursuant to Local Rule 16.2; and jointly

  file a proposed order scheduling mediation on or before April 23, 2025. (See id. 1). On April

  24, 2025, the Court granted the parties an extension of time until April 30, 2025 to schedule

  mediation and submit a proposed order, reminding them that the proposed order must be emailed

  to the Court in Word format. (See Order [ECF No. 29]).

         On April 30, 2025, a Joint Notice Scheduling Mediation [ECF No. 34] was filed instead

  of a proposed order, and the parties have not emailed a proposed order to the Court as required

  by the CM/ECF Administrative Procedures, and the Court’s April 17, 2025 and April 24, 2025

  Orders. Therefore, it is

         ORDERED that on or before May 5, 2025, the parties shall email a proposed order

  scheduling mediation. Furthermore, in their written submission, the parties shall explain why

  they failed to comply with the Court’s Orders, necessitating this third Order.
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        DONE AND ORDERED in Miami, Florida, this 1st day of May, 2025.



                                         _______________________________________
                                         CECILIA M. ALTONAGA
                                         CHIEF UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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